                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 MARGARET CZERWIENSKI,
 LILIA KILBURN, and AMULYA
 MANDAVA

        Plaintiffs,
                                                         Case No. 1:22-cv-10202-JGD
 v.

 HARVARD UNIVERSITY AND THE
 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE

        Defendants.

      PLAINTIFFS’ ASSENTED-TO MOTION TO SET DEADLINES FOR AMENDED
                     COMPLAINT AND MOTION PRACTICE

        Plaintiffs Margaret Czerwienski, Lilia Kilburn, and Amulya Mandava respectfully request

that the Court grant an extension until July 15, 2022 to respond to Defendants’ Motion for Partial

Summary Judgment on Count 10 of the Complaint (Dkt. No. 24) and set a briefing schedule for

motion practice.

        In support of this motion, Plaintiffs state as follows:

        1.     Plaintiffs filed their Complaint on February 8, 2022. See Dkt. No. 1.

        2.     On May 31, 2022, Defendants responded with their Motion to Dismiss Counts 1–9

(Dkt. No. 19) and a Motion for Partial Summary Judgment on Count 10 (Dkt No. 24). In support

of their Motion for Partial Summary Judgment on Count 10, Defendants filed a 108-paragraph

Statement of Material Facts, three declarations, and 38 exhibits. See Dkt. Nos. 26–29.

        3.     Plaintiffs intend to amend their Complaint as a matter of course by June 21, 2022.

See Fed. R. Civ. P. 15(a)(1)(B). The parties agree that the filing of the Amended Complaint will

moot Defendants’ Motion to Dismiss Counts 1–9 of the Complaint (Dkt. No. 19), without

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prejudice to any Motion to Dismiss the Amended Complaint. They agree that Plaintiffs will not

file a response to the present Motion to Dismiss (Dkt. No. 19) and that this will not prejudice their

right to oppose any Motion to Dismiss the Amended Complaint.

       4.      The Parties propose that Defendants shall file any Motion to Dismiss the Amended

Complaint by July 12, and that Plaintiffs shall file any opposition to any Motion to Dismiss the

Amended Complaint by July 26. Plaintiffs, through undersigned counsel, have conferred with

counsel for Defendants. Counsel for Defendants indicated that they assent to the date of July 12 to

file any Motion to Dismiss the Amended Complaint and to the date of July 26 for Plaintiffs to file

any opposition to any Motion to Dismiss the Amended Complaint, retaining their right to assert

any substantive or procedural objections and/or defenses.

       5.      Plaintiffs’ response to the Motion for Partial Summary Judgment is due on June 21,

2022. See Local Rules 7.1(b)(2).

       6.      Plaintiffs respectfully submit that, due to the voluminous nature of Defendants’

Motion for Summary Judgment, Plaintiffs’ need to review Defendants’ evidence and prepare

responses to Defendants’ Statement of Material Facts without the benefit of discovery, and

Plaintiffs’ counsel’s active engagement in other cases and matters that have deadlines prior to or

shortly after the current June 21, 2022 deadline, the additional time is necessary to permit Plaintiffs

to adequately address Defendants’ arguments in support of their Motion for Summary Judgment.

       7.      Plaintiffs, through undersigned counsel, have conferred with counsel for

Defendants. Counsel for Defendants indicated that they assent to the extended date of July 15,

2022 for Plaintiffs to file any response to Defendants’ Motion for Summary Judgment, retaining

their right to assert any substantive or procedural objections and/or defenses.




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        WHEREFORE, Plaintiffs respectfully request that this Court 1) set a briefing schedule of

July 12 for Defendants to file a Motion to Dismiss the Amended Complaint and July 26 for

Plaintiffs to file an opposition to the Motion to Dismiss the Amended Complaint; and 2) extend

the deadline to file any response to Defendants’ Motion for Summary Judgment until July 15,

2022.

                                              Respectfully submitted,

                                              /s/ Sean Ouellette
                                              Sean Ouellette (BBO# 697559)
                                              Russell Kornblith
                                              Carolin Guentert
                                              SANFORD HEISLER SHARP, LLP
                                              1350 Avenue of the Americas, 31st Floor
                                              New York, New York 10019
                                              Telephone: (646) 402-5650
                                              souellette@sanfordheisler.com
                                              rkornblith@sanfordheisler.com
                                              cguentert@sanfordheisler.com

                                              Attorneys for Plaintiffs

Dated: June 3, 2022




                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

        I hereby certify that I have conferred with counsel for Defendants in a good faith attempt

to resolve or narrow the issue. Defendants assent to this motion, retaining their right to assert any

substantive or procedural objections and/or defenses.


                                                      /s/ Sean Ouellette
                                                      Sean Ouellette




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